Case 2:97-cr-20061-SH|\/| Document 30 Filed 06/20/05 Page 1 of 3 Page|D 32

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IN THE UNITED sTATEs DISTRICT coURT _
FoR THE wEsTERN DISTRICT oF TENNESSEEQSJUNZO PH 2'53
wEsTERN D:v:sIoN

 

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UNITED sTATEs oF AMERICA, :,~§ §§ m m MEMPH\S
Plaintiff,
vS' No. 97-cR~20061_M1

BILLY T. SEVERENCE,

Defendant.

 

ORDER

 

This matter came before the Court upon the oral motion of
counsel of record for defendant. Based upon both the statements of
counsel upon the record, and the observations of the Court of Mr.
Billy T. Severence at both his initial appearance and today's
appearance, the Court finds that there is reasonable cause to
believe that Mr. Severence may presently be suffering from a mental
disease or defect rendering him mentally incompetent to the extent
that he is unable to understand the nature and consequences of the
proceedings against him or to assist properly in his defense.

Therefore, pursuant to 18 U.S.C. § 4241(b}, a psychiatric or
psychological examination of` Mr. Billy T. Severence is hereby
ordered and a psychiatric or psychological report shall be filed
with the Court pursuant to the provisions of 18 U.S.C. § 424?(b)
and (c). This order does not include an examination pursuant to 18
U.S.C. § 4242 at this time.

This document entered on the docket sheet in compliance
with sum 55 and/or az(b) FHCrP on 9 'oZ/’O,S“

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IT IS SO ORDERED.

 

TU M. PHAM
U.S. MAGISTRATE JUDGE

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DATE: dam 3_,;: pub
APPROVED FoR ENTRY;

/" d¢/)ZMV?VM,M y
T. cLI N HARvIEL (¥8589)
Attorney for Defendant
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DATE= L¢“ /7‘0§'

 

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Honorable J on McCalla
US DISTRICT COURT

